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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
_____________________________________
Caption in Compliance with D.N.J. LBR 9004-2(b)

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Counsel for Debtor


In re:                                                  Chapter 7

EVESHAM MORTGAGE, LLC                                   Case No.: 23-18880 (ABA)

                             Debtor.                    Judge: Altenburg


                             NOTICE OF RESCHEDULED § 341 MEETING

         PLEASE TAKE NOTICE that the 11 U.S.C. § 341 meeting presently scheduled to take

place on Thursday, November 9, 2023 at 10:00 AM (ET) has been adjourned to Friday,

November 17, 2023 at 11:00 AM (ET) via Zoom. If you wish to participate in the meeting,

please visit join.zoom.us, Meeting ID 393 300 2559, Passcode 9803965248, or call 1-609-264-

3767. YOUR PARTICIPATION IS WELCOMED, BUT NOT REQUIRED.

Dated: October 26, 2023                              ARCHER & GREINER, P.C.

                                                      /s/ Douglas G. Leney
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